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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

KATRINA BERGUNDER,

       Plaintiff,                                           Case No. 23-cv-12886

v.
                                                            Hon. Sean F. Cox
JPMORGAN CHASE BANK, N.A.,                                  United States District Court Judge

      Defendant.
___________________________________/

                               ORDER
     DISMISSING DEFENDANT’S COMPLAINT FOR INTERPLEADER (ECF No. 17)

       In this civil case, Plaintiff Katrina Bergunder seeks damages for alleged violations of the

Fair Credit Reporting Act by Defendant JP Morgan Chase Bank, N.A. (“Chase”). Bergunder

was initially represented by counsel Adam Taub pursuant to a contingency-fee agreement, and

Taub conducted settlement negotiations with Chase. Bergunder later fired Taub and refused to

sign any formal settlement agreement. Bergunder has since been pro se in this action.

       Chase ostensibly believed that it had concluded a valid and binding settlement agreement

with Taub because Chase moved to enforce that agreement on June 12, 2024. Cognizant of the

fact that Bergunder’s and Taub’s retainer agreement may have given Taub a charging lien in any

settlement proceeds, Chase filed a document entitled “Complaint for Interpleader” that same day.

       Chase’s interpleader complaint states that Chase brings a claim under Federal Rule of

Civil Procedure 22 “so that this Court may declare the rights and legal relations of Chase with

respect to the settlement proceeds.” (ECF No. 17, PageID.328). Chase’s interpleader complaint

requests that Chase be permitted to deposit the settlement amount with the Court so that the

Court may resolve Taub’s lien and that the Court dismiss Chase from this action. Thus, Chase’s

interpleader complaint seeks to implead the settlement amount and Taub as a defendant.


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       In two opinions issued on November 27, 2024, the Court declined to enforce the parties’

alleged settlement agreement and held that Chase was entitled to summary judgment. So,

Chase’s interpleader complaint is moot. See Thornton v. S.W. Detroit Hosp., 985 F.2d 1131,

1133 (6th Cir. 1990) (“Subject matter jurisdiction may be raised sua sponte at any juncture

because a federal court lacks authority to hear a case without subject matter jurisdiction.”).

Accordingly, IT IS ORDERED that Chase’s interpleader complaint (ECF No. 17) is

DISMISSED.

       IT IS SO ORDERED.


Dated: November 27, 2024                              s/Sean F. Cox
                                                      Sean F. Cox
                                                      U. S. District Judge


I hereby certify that on November 27, 2024, the document above was served on counsel and/or
the parties of record via electronic means and/or First Class Mail.

                                                      s/J. McCoy
                                                      Case Manager




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